 Case:18-05288-EAG11 Doc#:157 Filed:03/28/19 Entered:03/28/19 10:58:23         Desc: Main
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 2
                       IN THE UNITED STATES BANKRUPTCY COURT FOR
 3
                                THE DISTRICT OF PUERTO RICO
 4
     IN RE:                                   CASE NO. 18-05288-BKT11
 5
      SKYTEC INC                              Chapter 11
 6

 7                  Debtor(s)                 FILED & ENTERED ON MAR/28/2019

 8
                    NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST
 9
           Upon the order entered on March 26, 2019 (docket #155), please take notice
10
     that the instant case has been reassigned to the Honorable Brian K. Tester
11
     (BKT), U.S. Bankruptcy Judge.
12
           In San Juan, Puerto Rico, this 28 day of March, 2019.
13

14
                                          MARIA DE LOS ANGELES GONAZALEZ, ESQ.
15                                                  Clerk of Court
16                                        By: Carmen Figueroa, Deputy Clerk
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